                        UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                3:04-CR-201-MU

UNITED STATES OF AMERICA            )
                                    )
      v.                            )
                                    )                            ORDER
VINTAGE PHARMACEUTICALS,            )
INC., WILLIAM PROPST, SR.,          )
WILLIAM PROPST, JR., and            )
QUALITEST PHARMACEUTICALS, )
INC.                                )
                                    )
      Defendants.                   )
____________________________________)


        This matter is before the court upon its own motion for a continuance of this matter from
the October 2005 criminal term in the Charlotte Division. A status conference was conducted on
August 18, 2005, at 11:00 a.m. and all parties were present and represented by counsel. In open
court, all parties willingly agreed to the setting of this matter for trial on April 4, 2006, in light of
the number of outstanding motions which must necessarily be handled before this matter
proceeds to trial.
        The court finds that the ends of justice served by taking such action outweigh the interest
of the public and defendant to a speedy trial as set forth in 18 U.S.C. § 3161(h)(8)(A), (B).
        IT IS THEREFORE ORDERED that the above captioned case is continued to April 4,
2005 as to all defendants.




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                        Signed: August 19, 2005




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